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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                              §
TEXAS MEDICAL ASSOCIATION, et                 §
al.,                                          §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §    Case No. 6:23-cv-59-JDK
                                              §
UNITED STATES DEPARTMENT OF                   §
HEALTH AND HUMAN SERVICES,                    §
et al.,                                       §
                                              §
        Defendants.                           §
                                              §

     ORDER ON SUMMARY JUDGMENT BRIEFING AND SETTING HEARING
          Before the Court is the parties’ joint request for expedited briefing on summary

 judgment in this case. The Court hereby GRANTS the motion.

          It is therefore ORDERED that the briefing schedule for summary judgment

 in this case is as follows:

     Plaintiffs’ motions for summary judgment                     February 13, 2023
     Amicus curiae briefs supporting plaintiffs                   February 20, 2023
     Defendants’ opposition/cross-motion for summary               March 15, 2023
     judgment
     Amicus curiae briefs supporting defendants                    March 22, 2023
     Plaintiffs’ oppositions/replies in support of summary         March 27, 2023
     judgment
     Defendants’ reply in support of summary judgment                April 7, 2023

          Plaintiffs may file a summary judgment motion of up to 30 pages and an

 opposition/reply brief of up to 20 pages. Defendants may file an opposition/cross-

 motion for summary judgment of up to 30 pages and a reply brief of up to 20 pages.

 Amicus curiae need not file motions for leave before filing briefs.


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      Further, the Court hereby sets the parties’ summary judgment motions for an

in-person hearing on April 19, 2023, at 2:00 p.m., at the William M. Steger Federal

Building and United States Courthouse, 211 West Ferguson Street, Tyler, TX 75702.

      Finally, Defendants’ obligation to answer the complaints in these actions is

waived.

      So ORDERED and SIGNED this 13th day of February, 2023.



                                         ___________________________________
                                         JEREMY D. KERNODLE
                                         UNITED STATES DISTRICT JUDGE




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